                                   Case 4:95-cr-00123-WTM-CLR Document 1312 Filed 03/01/19 Page 1 of 1

AO 2^7(Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)                     Page 1 of2(Page 2 Not for Public Disclosure)


                                                       United States District Court
                                                                                    for the

                                                                      Southern    District of   Georgia
                                                                              Savannah Division
                                     United States of America
                                                  V.                                  )
                                                                                      ) Case No: 4:95-cr-00l23-2
                                      Oscar Lee Brown, Jr.                            )
                                                                                      ) USMNo: 08921-021
DateofOriginalJudgment:            January 9, 1996                                    ^
Date of Previous Amended Judgment: Not applicable                                     ^ Abda Lee Quillian
(Use Dale ofLast Amended Judgmem ifAny)                                                    Defendant's Aliorney

                                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                                          PURSUANT TO 18 U.S.C.§ 3582(c)(2)

                         Uponmotionof S the defendant Q the Director of the Bureau of Prisons Q the court under 18 U.S.C.
§ 3582(c)(2)for a reduction in the term ofimprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSO §IB 1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          K DENIED. D GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the lastjudgment issued) of                   months is reduced to                                     .
                                                            (Complete Parts I and II ofPage 2 when motion is granted)




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Except as otherwise provided, all provisions of the judgment dated                                 January 9, 1996,          shall remain in effect.
IT IS SO ORDERED.


Order Date:
                                                                                                                  Judge's signattTre

                                                                                  William T, Moore, Jr.
 Effective Date:                                                                  Judge, U.S. District Court
                                      (if differentfrom order date)                                          Printed name and title
